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IN THE UNITED sTATEs DISTRICT coURT 05
FOR THE wEsTERN DISTRICT oF TENNESSEE ~ AUG “| AH|U: 32
wEsTERN DIVISION
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MACK TRANSOU,
Plaintiff,

vs. No. 04-3031-Ma/An

TENNESSEE DEPARTMENT OF
CORRECTION, et al.,

Defendants.

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ORDER TO COMPLY WITH PLRA
ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Mack Transou, an inmate at the South Central
Correctional Center (SCCC)I, in Clifton, Tennessee, who was
formerly confined at the West Tennessee State Penitentiary (WTSP),
has filed a complaint under 42 U.S.C. § 1983. The Clerk of Court
shall file the case and record the defendants as the Tennessee
Department of Correction (TDOC), David Mills, Teresa Patterson,
Jean Simonton, and Rhonda Mullins. Transou included the address
for the defendants at the WTSP in the heading of the complaint.

The WTSP has been erroneously recorded as a defendant. The Clerk

 

1 The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

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shall delete all references to the WTSP as a defendant from the
docket.
I. Assessment of Filinq Fee

Under the Prison Litigation Reform Act of 1995 (PLRA), 28
U.S.C. § 1915(b), all prisoners bringing a civil action must pay
the full filing fee of $150 required by 28 U.S.C. § 1914(a). The
ip fprmg pauperis statute, 28 U.S.C. § 1915(a) merely provides the
prisoner the opportunity to make a "downpayment" of a partial
filing fee and pay the remainder in installments.

In this case, plaintiff has not properly completed and
submitted both an ip fp;ma pappe;i§ affidavit and a prison trust
fund account statement showing:

1) the average monthly deposits, and
2) the average monthly balance

for the six months prior to submission of the complaint, and
3) the account balance when the complaint was submitted.
Pursuant to 28 U.S.C. § 1915(b)(l), it is ORDERED that
plaintiff cooperate fully with prison officials in carrying out
this order. It is ORDERED that within thirty (30) days of the
entry of this order plaintiff properly complete and file both an ip

forma pauperis affidavit and a trust fund account statement showing

 

the above amounts. It is further ORDERED that the trust fund
lofficer at plaintiff's prison shall calculate a partial initial
filing fee equal to twenty percent of the greater of the average
balance in or deposits to plaintiff's trust fund account for the

six months immediately preceding the completion of the affidavit.

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Plaintiff shall pay an initial partial filing fee. When
plaintiff's account contains any funds, the trust fund officer
shall collect them and pay them directly to the Clerk of Court. If
the funds in plaintiff's account are insufficient to pay the full
amount of the initial partial filing fee, the prison official is
instructed to withdraw all of the funds in plaintiff's account and
forward them to the Clerk of Court. On each occasion that funds
are subsequently credited to plaintiff's account the prison
official shall immediately withdraw those funds and forward them to
the Clerk of Court, until the initial partial filing fee is paid in
full.

It is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from
plaintiff's account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff's account during the preceding month, but only when the
amount in the account exceeds $10.00, until the entire $150.00
filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of

Tennessee, 242 Federal Building, 167 N. Main, Memphis, TN
38103

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and shall clearly identify plaintiff's name and the case number on
the first page of this order.

If plaintiff is transferred to a different prison or released,
he is ORDERED to notify the Court immediately of his change of
address. If still confined he shall provide the officials at the
new prison with a copy of this order.

If plaintiff fails to abide by these or any other requirement
of this order, the Court may impose appropriate sanctions,
including a monetary fine, without any additional notice or hearing
by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff's
prison.

The obligation to pay this filing fee shall continue despite
the immediate dismissal of this case. 28 U.S.C. § 1915(e)(2). The
Clerk shall not issue process or serve any papers in this case.
II. Analysis of Plaintiff's Claims

Plaintiff sues the TDOC, WTSP Warden David Mills, and WTSP
Nurses Teresa Patterson, Jean Simonton, and Rhonda Mullins alleging
that his constitutional rights were violated by the defendants, who
utilized a statute enacted in 1999 to obtain samples of his blood
during his confinement at the WTSP. Transou alleges that blood
samples were collected in violation of his rights against
unreasonable searches and seizures. He further alleges that the
blood samples were the sole evidence to sustain two Madison County

Criminal Court rape convictions.

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The suppression of the DNA evidence was raised on direct
appeal of plaintiff's convictions. The Tennessee Court of Criminal
Appeals ruled that plaintiff's suppression motions were properly
denied in both cases and affirmed his convictions. §§§ State v.
Transou, No. W2004-01475-CCA-R3-CD, 2005 WL 1541859 (Tenn. Ct.

Crim. App. June 30, 2005); State v. Transou, No. W2003-02966~CCA-

 

RB-CD, 2005 WL 1154345 (Tenn. Ct. Crim. App. May 13, 2005).

Transou contends that the rulings of the trial court were in
error and that the defendant nurses testified that they did not
actually see plaintiff sign the consent forms. Transou seeks an
order from this Court which directs the blood samples be destroyed
and determines that the statute was improperly applied. He also
seeks “relief” for “emotional distress.”

Plaintiff has no clainx under § 1983 arising out of his
conviction or confinement.

We hold that, in order to recover damages for allegedly
unconstitutional conviction.or imprisonment, or for other
harm caused by actions whose unlawfulness would render a
conviction or sentence invalid, a § 1983 plaintiff must
prove that the conviction or sentence has been reversed
on direct appeal, expunged by executive order, declared
invalid knr a state tribunal authorized to wake such
determination, or called into question by a federal
court's issuance of a writ of habeas corpus, 28 U.S.C. §
2254. A claim for damages bearing that relationship to
a conviction or sentence that has not been so invalidated
is not cognizable under § 1983. Thus, when a state
prisoner seeks damages in a § 1983 suit, the district
court must consider whether a judgment in favor of the
plaintiff would necessarily imply the invalidity of his
conviction or sentence; if it would, the complaint must
be dismissed unless the plaintiff can demonstrate that
the conviction or sentence has already been invalidated.
But if the district court determines that the plaintiff's
action, even if successful, will not demonstrate the
invalidity of any outstanding criminal judgment against

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the plaintiff, the action should be allowed to proceed,
in the absence of some other bar to the suit.

Heck v. Humphrey, 512 U.S. 477, 486-87 (1994)(footnotes omitted).
Thus a prisoner has no cause of action under § 1983 if the claims
in that action hinge on factual proof that would call into question
the validity of a state court order directing his confinement
unless and until any prosecution is ended in his favor, or an
existing conviction is set aside or the confinement is declared
illegal. ch at 481-82; SChillinCr v. White, 58 F.3d 1081, 1086
(Gth Cir. 1995). Cf. Preiser v. Rodriquez, 411 U.S. 474, 500
(1973)(whenever the relief sought is release from prison, the only
remedy is through a habeas petition, not a § 1983 complaint).
Here, Egpk applies to bar plaintiff's claims. Any claims which
plaintiff may possess will not accrue until his conviction is
overturned on direct appeal or via collateral attack.

Furthermore, to the extent Transou seeks an order
countermanding the ruling of the Tennessee courts, he may not
attack those proceedings in this federal district court.

United States district courts . . . do not have

jurisdiction[]over challenges to state-court decisions in

particular cases arising out of judicial proceedings even

if those challenges allege that the state court's action

was unconstitutional. Review of those decisions may be

had only in [the United States Supreme] Court. 28 U.S.C.

§ 1257.
District of Columbia Court of Apoeals v. Feldman, 460 U.S. 462,
482-83, 486 (1983). See also Rooker v. Fidelitv Trust Co., 263
U.S. 413, 416 (1923)(federal district courts lack jurisdiction to

review or modify a judgment of a state's highest court). In short,

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"[l]ower federal courts possess no power whatever to sit in direct
review of state court decisions." Cleveland Surqi-Center v. Jones,
2 F.3d. 686, 691 (6th Cir. 1993). Regardless of what relief
plaintiff has sought from the Tennessee courts, he cannot obtain an
order from this Court directing those courts to take any action on
his behalf.
[F]ederal courts have no authority to issue writs of
mandamus to direct state courts or their judicial
officers in the performance of their duties. Clark v.
Washington, 366 F.2d 678 (9th Cir. 1966); Campbell v.
Washinqton State Bar Ass'n, 263 F. Supp. 991 (W.D. Wash.
1967).
Hagqard v. State of Tennessee, 421 F.2d 1384, 1386 (6th Cir. 1970).
The Court declines to construe the complaint as seeking habeas
relief, because Transou has clearly not exhausted his state
remedies. Seel e.g., §§appp;;y_yp_§;§g;, 481 U.S. 129, 133-34
(1987)(clarifying scope of § 2254 exhaustion requirement); Bp§e_yp
Lundy, 455 U.S. 509, 519 (1982)(applying § 2254 exhaustion
requirement to mixed petitions); NQ£LQL;!iiE§£K§, 892 F.2d 476, 478

n.5 (6th Cir. 1989)(enunciating judicially created exhaustion

requirement for seeking § 2241 relief); Dickerson v. State of La.,

 

816 F.2d 220, 225 (Sth Cir. l987)(same) Atkins V. State Of
Michigan, 644 F.2d 543, 546 n.1 (6th Cir. 1981)(same). See also
Rule 4, Rules Governing Section 2254 Cases in the United States
District Courts.

A petitioner has failed to exhaust his available state
remedies if he has the opportunity to raise his claim by any

available state procedure. Preiser, 411 U.S. at 477, 489~90.

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Moreover, to exhaust these state remedies, the applicant must have
presented the very issue on which he seeks relief from the federal
courts to the courts of the state that he claims is wrongfully

confining him. Picard v. Connor, 404 U.S. 270, 275-76 (1971); Rust

 

v. Zent, 17 F.3d 155, 160 (6th Cir. 1994). Here, Transou may seek
state post-conviction relief. Accordingly, his claims are clearly
unexhausted and it would be pointless to construe the complaint as
a habeas petition.

Accordingly, this complaint seeks to assert claims which fail
to state a claim upon which relief may be granted and claims
lacking an arguable basis either in law or in fact, and is
frivolous. §§e Denton v. Hernandez, 504 U.S. 25, 31 (1992);
Neitzke v. Williams, 490 U.S. 319, 325 (1989).

As the complaint fails to state a claim and is frivolous, it
is DISMISSED pursuant to 28 U.S.C. §§ 1915(e)(2)(B)(i) and (ii).
III. Appeal Issues

The next issue to be addressed is whether plaintiff should be
allowed to appeal this decision ip fpppa ppppppi§. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
ip;pp pauperis if the trial court certifies in writing that it is
not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. iii Accordingly,
it would be inconsistent for a district court to determine that a

complaint is too frivolous to be served, yet has sufficient merit

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to support an appeal ip ip;p§ pauperis. See Williams v. Kullman,
722 F.2d 1048, 1050 n.1 (2d Cir. 1983). The same considerations
that lead the Court to dismiss this case as frivolous also compel
the conclusion that an appeal would be frivolous.

It is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith, and plaintiff may not proceed on appeal ip ipppp pauperis.

The final matter to be addressed is the assessment of a filing
fee if plaintiff appeals the dismissal of this case. The United
States Court of Appeals for the Sixth Circuit has held that a
certification that an appeal is not taken in good faith does not
affect an indigent prisoner plaintiff's ability to take advantage
of the installment procedures contained in § 1915(b). McGore v.
Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). Mp§p;p sets
out specific procedures for implementing the PLRA. Therefore, the
plaintiff is instructed that if he wishes to take advantage of the
installment procedures for paying the appellate filing fee, he must
comply with the procedures set out in Mpgp;e and § 1915(b).

For analysis under 28 U.S.C. § 1915(g) of future filings, if
any, by' this plaintiff, this is the first dismissal in this

district of one of his cases as frivolous.

IT Is so 0RDERED this L‘\‘\'(` day of Juiy, 2005.

M//‘M__,

SAMUEL H. MAYS, JR.
UNITED S'I’ATES DISTRICT JUDGE

 

STATES DISTRICT OURT - WENSTER DISRICT OF T'ENN'ESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-03031 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Mack Transou

SOUTH CENTRAL CORRECTIONAL CENTER
P.O. Box 279

Clifton7 TN 38425

Honorable Samuel Mays
US DISTRICT COURT

